           Case 6:19-bk-11281-RB                     Doc     Filed 07/08/25 Entered 07/08/25 09:00:46                                    Desc Main
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Fill in this information to identify the case:

Debtor 1              Nadia Michelle Lipscomb

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Central                   District of California
                                                                               (State)

Case number           6:19-bk-11281-RB



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                    12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:             NewRez LLC d/b/a Shellpoint Mortgage                  Court claim no. (if known):         7
                              Servicing

Last four digits of any number you                 XXXXXX5952                       Date of payment change:
use to identify the debtor’s account:                                               Must be at least 21 days after date of                8/1/2025
                                                                                    this notice

                                                                                    New total payment:
                                                                                    Principal, interest, and escrow, if any                $895.75

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtor’s escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:              $ 354.58                                    New escrow payment :            $ 352.90

Part 2:         Mortgage Payment Adjustment

2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                         %                               New interest rate:          %

             Current principal and interest payment:        $ _________                     New principal and interest payment:             $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                 $ _________                            New mortgage payment:             $ _________




Official Form 410S1                                Notice of Mortgage Payment Change                                                   page 1
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                                                       Document      Page 2 of 6
 Debtor 1            Nadia Michelle Lipscomb                                        Case number (if known) 6:19-bk-11281-RB
                    First Name Middle Name Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Ernest Yazzetti, Jr.                                                           Date     06/20/2025
     Signature

Print:         Ernest                                               Yazzetti, Jr.      Title    Authorized Agent for Creditor
               First Name            Middle Name                    Last Name

Company        McCalla Raymer Leibert Pierce, LLP

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                      30076
               City                          State                   ZIP Code

Contact phone      8482000083                                                          Email    Ernest.Yazzetti@mccalla.com




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                                                         Bankruptcy Case No.: 6:19-bk-11281-RB
  In Re:                                                 Chapter:             13
           Nadia Michelle Lipscomb                       Judge:               Magdalena Reyes
                                                                              Bordeaux

                                         CERTIFICATE OF SERVICE

        I, Ernest Yazzetti, Jr., of McCalla Raymer Leibert Pierce, LLP, 1544 Old Alabama
 Road, Roswell, GA 30076, certify:

           That I am, and at all times hereinafter mentioned, was more than 18 years of age;

        That on the date below, I caused to be served a copy of the within NOTICE OF
 MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
 the addresses shown, by regular United States Mail, with proper postage affixed, unless another
 manner of service is expressly indicated:

 Nadia Michelle Lipscomb
 3033 Andreas Palm Way
 Perris, CA 92571

 Benjamin R Heston                                (Served via ECF at bhestonecf@gmail.com)
 100 Bayview Circle, Suite 100
 Newport Beach, CA 92660

 Rod Danielson, Trustee                           (Served via ECF Notification)
 3787 University Avenue
 Riverside, CA 92501

 U.S. Trustee                                     (Served via ECF Notification)
 United States Trustee (RS)
 3801 University Avenue, Suite 720
 Riverside, CA 92501-3200

      I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
 AND CORRECT.

 Executed on:         07/08/2025         By:   /s/Ernest Yazzetti, Jr.
                      (date)                   Ernest Yazzetti, Jr.
                                               Authorized Agent for Creditor
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